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lN THE ClRCUlT COURT OF THE
FOURTH JUDICIAL ClRCUlT IN AND
FOR DUVAL COUNTY, FLORIDA

S'I'EPHEN KNUTH,
Plaintiff,
CASE NO:
v. Jugg Trial Demanded
ClTlBANK N.A.,
Def`endant.

/

 

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

 

Plaintiff STEPHEN KNUTH (“Mr. Knuth” or “Plaintift") files suit against CITIBANK
N.A. (“CI'I`IBANK”) and in support alleges:
NATURE OF ACTlON
1. This is an action for injunctive relief and damages in excess of $lS,OOO by
Plaintiff, Stephen Knuth, an individual consumer, for violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices
Act, Fla. Stat. § 559.55 ct seq. (“FCCPA”) by Cl'I`IBANK. Fundamentally, this case is about

CITIBANK’s refusal to respect Mr. Knuth’s personal and legal rights in its attempts to collect an

alleged debt.
JURISDICTION
2. Jurisdiction of this Court arises pursuant to Fla. Stat. § 26.012, Fla. Stat. §
559.77(1) and 47 U.S.C. § 227(b)(3).
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THE PARTIES

3. Plaintiff, Stephen Knuth, is a natural person residing in Duval County, Florida.

4. Det`endant CITIBANK, is a chartered National Bank with its headquarters located
at 701 East601h Street North, Sioux Falls, South Dakota 57104, County of Minnehaha.

5. Defendant is a corporate entity responsible for attempting to collect a debt from
Plaintiff and transacts business in the State of Florida.

6. Plaintiff had an alleged debt to CITlBANK arising out of personal, family, or
household purposes.

7. Plaintiff is the regular user and subscriber of the cellular telephone 954-290-6537
and was the recipient of the CITlBANK calls.

8. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679
F.3d 637, 643 (7th Cir. 2012).

9. Plaintiff is a “consurner” as defined in Florida Statute Section 559.55(2).

10. Plaintiff hired Davis Law Firm to represent him with regard to all debts and
claims that his creditors may have had against him, and to seek relief from the overwhelming
volume of debt collection calls and letters that Plaintiff was receiving.

BACKGROUND

ll. Plaintiff has a Bcst Buy credit card account issued by CITIBANK.

12. Beginning in July 2014, Plaintiff began to receive multiple telephone calls to his
cell phone (954-290-6537) from CITlBANK in an attempt to collect an alleged debt.

13. On July 28, 2014, Mr. Knuth answered one of the CITlBANK calls and gave
directions to “stop calling” him several times and revoked consent for CITlBANK to call him.

14. In addition, on July 28, 2014, Mr. Knuth faxed a cease and desist letter to

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CITIBANK’s notifying the defendant found the calls overly aggressive and abusive in nature.
The letter statcd:

“I Stephen Knuth, execute a Cease and Desist Order on Best Buy and all of its

employees effective immediately, based on unprofessional and abusive conduct by

its employees. I am requesting that all contact with me be in writing, including

monthly billing statements. Stephen Knuth”

15. A copy of the faxed cease and desist letter is attached as Exhibit “B.”

16. Despite his request for the calls to stop, CITlBANK continued to call Plaintiff's
cellular phone.

l7. During many of these calls, Mr. Knuth informed CITlBANK that he already sent
a cease and desist request.

18. After the July 28, 2014 conversation, and the cease and desist letter, CITIBANK
called Mr. Knuth’s cell phone at least an additional 15 times.

19. The alleged debt that is the subject matter of this complaint is a “consumer debt”
as defined by Florida Statute Section 559.55(1).

20. CITlBANK called the Plaintiff using telephone number 877-561-2272 and 502-
522-2011.

21. Exhibit “A” displays the times and dates of at least some of the telephone calls
made by CITlBANK to Mr. Knuth’s cellular telephone.

22. The phone number 877-561-2272 is a number that does or did belong to
CITlBANK or its agents.

23. The phone number 502-522-2011 is a number that does or did belong to
CITlBANK or its agents.

24. The phone number 888-608-9419 is a number that does or did belong to

CITlBANK or its agents.

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25. The phone number (866) 328-0918 is a number that does or did belong to
CITlBANK or its agents.

26. CITlBANK attempted to collect a debt from Plaintiff by this campaign of
telephone calls.

27. The telephone calls made to Plaintiff’s cellular telephone were willfully or
knowingly made.

28. The telephone calls made to Plaintifi`s cellular telephone were made using an
automatic telephone dialing system.

29. 'I`he telephone calls made by CITlBANK were made using an artificial or
prerecorded voice.

30. CITlBANK did not have Plaintiff’s consent to call his cellular telephone using
automatic telephone dialing equipment.

31. The telephone calls made to Plaintiff’s cellular telephone were not made for
emergency purposes.

32. CITlBANK uses automatic telephone dialing system.

33. CITlBANK has many similar complaints from consumers across the country to
those alleged by Plaintiff in this lawsuit.

34. All conditions precedent to bringing this action have been performed or have been

waived.

COUNT I - VIOLATIONS OF THE TCPA BY CITlBANK

 

35 . Mr. Knuth incorporates by reference paragraphs l through 34 of this Complaint.
36. CITlBANK willfully or knowingly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system and/or used a pre-

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recorded or artificial voice to Plaintiff’s cellular telephone without Plaintiff consent in violation
of 47 U.S.C. § 227(b)(l)(A)(iii).
37. WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant, CITlBANK for:
a) Damages; and
b) Such other or further relief as the Court deems equitable, just, or proper.

COUNT II - VIOLATIONS OF
FLORIDA CONSUMER COLLECTION PRACTICES ACT

38. Mr. Knuth incorporates by reference paragraphs l through 34 of this Complaint.
39. By continuing to contact Mr. Knuth despite having actual knowledge that Mr.
Knuth did not consent to be called, by using automatic telephone dialing equipment to call Mr.
Knuth’s cellular telephone and using an artificial or prc-recorded voice, by calling him numerous
times in a short time span, and by communicating with Mr. Knuth in a manner reasonably
expected to harass Mr. Knuth, CITlBANK engaged in conduct which can reasonably be
expected to abuse or harass Plaintiff in violation of Fla. Stat.§ 559.72(7).
40. Each harassing call is a separate violation of the FCCPA and a separate count in
this complaint.
41. WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant, CITlBANK for:
a) Actual and statutory damages;
b) Attomey’s fees and costs;
e) A permanent injunction enjoining the Defendant from engaging in the violative
practices; and

d) Such other or further relief as the Court deems equitable, just, or proper.

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